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                 IN THE UNITED STATES DISTRICT COURT FOR
               THE DISTRICT OF MARYLAND, NORTHERN DIVISION


TYREE GREGORY, pro se,              *

                                    *
     Petitioner,
                                    *
                                          CRIMINAL NO.: WDQ-07-0261
           v.                                CIVIL NO.: WDQ-09-1643
                                    *

UNITED STATES OF AMERICA,           *

                                    *
     Respondent.
                                    *

*    *     *      *     *      *    *     *       *     *        *       *      *

                              MEMORANDUM OPINION

      Tyree Gregory pled guilty to conspiracy to distribute and

possess with the intent to distribute heroin in violation of 21

U.S.C. § 846, and was sentenced to 78 months’ imprisonment.

Pending is Gregory’s pro se motion to vacate, set aside, or

correct his sentence under 28 U.S.C. § 2255.             The Court has

determined that no hearing is necessary.              See Rule 8 of the

Rules Governing § 2255 Proceedings.            For the following reasons,

the motion will be denied.

I.   Background

     The following facts were agreed to by Gregory and included

in the December 14, 2007 plea agreement that he signed.                      From

about February 2007 to June 2007, Gregory conspired with others
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to distribute and possess with the intent to distribute heroin.

Plea Agreement 4.     During the conspiracy, law enforcement

intercepted cell phone conversations in which Gregory discussed

and arranged transactions involving the wholesale distribution

of heroin.     Id.   Based on these conversations and other

surveillance, law enforcement determined that Gregory was

supplying heroin to dealers such as James Brice, who operated a

street level distribution “shop.”        Id. 4-5.     The conspiracy

involved at least 400 grams of heroin.          Id. 5.

      Gregory was charged with conspiracy to distribute one

kilogram or more of heroin in violation of 21 U.S.C. § 846.                  On

March 28, 2008, Gregory pled guilty to the lesser included

offense of conspiracy to distribute 100 grams or more of heroin.

Rearraignment Hr’g Tr. 3, Mar. 28, 2008.          On June 25, 2008, the

Court sentenced Gregory to 78 months’ imprisonment.             Sentencing

Hr’g Tr. 10.     Gregory did not appeal his conviction or sentence.

On June 22, 2009, Gregory moved to vacate, set aside, or correct

his sentence under 28 U.S.C. § 2255.          Paper No. 216.

II.   Analysis

      Gregory argues that (1) he received ineffective assistance

of counsel and (2) his sentence was imposed in violation of due

process.



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     A. Ineffective Assistance of Counsel

     The Sixth Amendment guarantees the effective assistance of

counsel.    Strickland v. Washington, 466 U.S. 668, 686 (1984).

To prove ineffective assistance, Gregory must show: (1)

counsel’s performance was deficient and (2) the deficiency

prejudiced his defense.      Id. at 687.    To show deficient

performance, Gregory must establish that counsel made errors so

serious that the “representation fell below an objective

standard of reasonableness.”      Id. at 688.    To show prejudice, he

must demonstrate a “reasonable probability that, but for

counsel’s unprofessional errors, the result of the proceeding

would have been different.” Id. at 694.        Because Gregory pled

guilty, the focus is whether counsel’s “performance affected the

outcome of the plea process.”      Hill v. Lockhart, 474 U.S. 52, 59

(1985).    In other words, Gregory must show that “there is a

reasonable probability that, but for counsel’s errors, he would

not have pleaded guilty and would have insisted on going to

trial.”    Id.

     Gregory argues that counsel’s performance fell below an

objective standard of reasonableness because counsel: (1) failed

to “plea bargain for a minimal role adjustment in sentencing,”

(2) coerced Gregory into signing the Plea Agreement without

ensuring that Gregory understood it, and (3) failed to

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investigate an incident at the Baltimore City Detention Center

(“BCDC”) that--Gregory contends--would have mitigated his

sentence.   Gregory argues that but for these errors, he would

not have pled guilty and/or would have received a lesser

sentence.

     1. Failure to Bargain for Mitigating Role Adjustment

     Gregory contends that he instructed his counsel to bargain

for a mitigating role adjustment under U.S.S.G. § 3B.1.2, and

that counsel promised to do so.     Because the Government did not

agree to recommend an adjustment, Gregory argues that counsel

must have broken his promise to bargain for the adjustment.

     Gregory’s allegations are contradicted by his sworn

statements at the rearraignment.       Gregory stated that: (1) he

had read and discussed the Plea Agreement with his lawyer and

that he understood it, Rearraignment Hr’g Tr. 7; (2) that his

lawyer had not done anything that Gregory had told him not to do

or refused to do something Gregory had told him to do, id. 5;

and (3) that he was satisfied with his lawyer’s services, id.

He also stated that outside the plea letter, no one had made any

promise or prediction to him about the sentence that the Court

would impose.   Id. 7.   Counsel argued for the role adjustment at

sentencing, but the Court did not make the adjustment.

Sentencing Hr’g Tr. 6.

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     Even assuming that counsel failed to request that the

Government recommend the adjustment--and that such a failure was

unreasonable--Gregory has not shown that the outcome of the

proceedings would have been different.       Gregory’s argument rests

on the unfounded assumptions that counsel in fact failed to

request that the Government recommend the adjustment; that if

counsel had made the request, the Government would have agreed

to it; and if the Government would have agreed to it, the Court

would have adjusted his sentence.      Nothing in the record

supports these assumptions.     Gregory’s unsupported assertions

are not sufficient to show counsel’s ineffective assistance.

     2. Involuntary and Unknowing Plea

     Gregory argues that counsel “coerced” him into signing the

Plea Agreement without first ensuring that he understood it.

Gregory maintains that if he had known that the Agreement

contained a waiver of his rights to trial and appeal, he would

not have pled guilty.    Again, Gregory’s allegations are

contradicted by his sworn statements at the rearraignment.

Gregory stated that he had read the agreement, discussed it with

counsel, and understood it.     Rearraignment Hr’g Tr. 7.         The

Court explained to him, inter alia, that he did not have to

plead guilty and that by pleading guilty he was giving up

various trial rights and limiting his right to appeal.            Id. 7-9.

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Gregory’s bald assertions that he was coerced into signing an

agreement he did not understand are not sufficient to show

counsel’s ineffectiveness.

     3. Failure to Investigate “Cause for Mitigating Sentence”

     Gregory asserts that while he was in pretrial custody at

the BCDC, he was stabbed by another inmate.          He argues that the

health problems that resulted from the stabbing entitled him to

a sentence below the guideline range.        Although counsel noted

the stabbing at sentencing, see Sentencing Hr’g Tr. 7, Gregory

claims that counsel did not discuss the stabbing with him or

otherwise investigate the incident.         Gregory’s argument appears

to be that if counsel had investigated the incident, counsel’s

argument at sentencing would have been more effective, and the

Court would have been more likely to impose a sentence below the

guidelines range.

     It is unclear what further investigation of the stabbing

would have revealed or how any additional information would have

affected the Court’s sentencing decision.         Counsel informed the

Court about the incident, and the Court chose not to depart from

the guidelines.   Gregory’s allegations do not establish

counsel’s ineffectiveness.




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     B. Denial of Due Process

     Gregory argues that he was sentenced in violation of due

process because the Court failed to consider the sentencing

factors under 18 U.S.C. § 3553(a) and “used an appellate

standard of review at sentencing.”      Mot. to Vacate 13.1        As the

Government notes, Gregory’s argument appears to be that the

Court failed to make an individualized assessment of his case

when imposing sentence.      See, e.g., Gall v. United States, 128

S. Ct. 586, 597 (2007) (sentencing court may not presume that a

sentence within the guidelines is reasonable, but must “make an

individualized assessment based on the facts presented”).

Gregory suggests that the Court did not make an individualized

assessment because it did not explain how the § 3553(a) factors

applied and appeared to presume, as an appellate court must,

that any sentence within the Guidelines is reasonable.

     Although the sentencing court must consider the § 3553(a)

factors, it need not explicitly reference the statute or discuss


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  The Government contends that because Gregory did not raise
these arguments on appeal, he may not raise them in his motion
absent a showing of good cause and prejudice. See United States
v. Landrum, 93 F.3d 122, 124 (4th Cir. 1996) (claim raised for
the first time in § 2255 motion is generally not cognizable
unless petitioner demonstrates “cause excusing his . . .
procedural default” and (2) “actual prejudice resulting from the
errors of which he complains”). Because Gregory’s claims lack
merit, the Court need not consider whether he is in procedural
default, and if so, whether he has demonstrated good cause and
prejudice.
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the factors on the record.”     See United States v. Johnson, 445

F.3d 339, 345 (4th Cir. 2006).     At sentencing, the Court

explained that “[i]n this case . . . a guidelines sentence is

appropriate.    Sentencing Hr’g Tr. 10.     This indicates that the

Court made the required individualized assessment and did not

merely presume that a guidelines sentence was reasonable.

Gregory’s motion fails on this basis.

        Gregory has not shown ineffective assistance of counsel or

a denial of due process.     Accordingly, his motion to vacate, set

aside, or correct sentence will be denied.

        C. Certificate of Appealability

        A certificate of appealability (“COA”) must issue before a

petitioner may appeal the Court’s decision in a 28 U.S.C. § 2255

case.     See 28 U.S.C. § 2253(c)(1); Fed. R. App. P. 22(b).          A COA

may be issued “only if the applicant has made a substantial

showing of the denial of a constitutional right.”            28 U.S.C. §

2253(c)(2).    The petitioner “must demonstrate that reasonable

jurists would find the district court’s assessment of the

constitutional claims debatable or wrong,” Tennard v. Dretke,

542 U.S. 274, 282 (2004) (quoting Slack v. McDaniel, 529 U.S.

473, 484 (2000)), or that “the issues presented were adequate to

deserve encouragement to proceed further,” Miller-El v.

Cockrell, 537 U.S. 322, 335-36 (2003) (internal quotations

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omitted).     Denial of a COA does not prevent a petitioner from

seeking permission to file a successive petition or pursuing his

claims upon receipt of such permission.

       Because Gregory has not made a substantial showing of the

denial of his constitutional rights, this Court will not issue a

COA.

III. Conclusion

       For the reasons stated above, Gregory’s motion to vacate,

set aside, or correct sentence will be denied.



March 25, 2010                            __________/s/________________
Date                                      William D. Quarles, Jr.
                                          United States District Judge




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